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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                   (8921)



                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                     V.                                   (For Revocation of Supervised Release)
        RAPHAEL BANKS
        a/k/a Raphael DeJuan Banks                        CASE NUMBER: 1:07-cr-00047-007
                                                          USM NUMBER: 09735-003

THE DEFENDANT:                                            Arthur T. Powell, Esquire
                                                          Defendant's Attorney

X       admitted guilt to violation of supervision conditions: 7, two Special Conditions, and 3 as set forth in
the petition dated 7/10/2013.

        was found in violation of supervision condition(s):
                                                                                Date violation
Violation Number                       Nature of Violation                      Occurred
        7                              Technical
Special Condition (failure to          Technical
  participate in drug testing)
Special Condition (failure to attend   Technical
  mental health treatment)
        3                              Technical

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No. 3927                       October 29, 2013
                                                           Date of Imposition of Judgment
Defendant's Date of Birth: 1977
                                                           /s/ Callie V. S. Granade
Defendant's Residence Address:                             UNITED STATES DISTRICT JUDGE
Bayou La Batre, AL
___________________________
                                                           November 7, 2013
Defendant's Mailing Address:                               Date
___________________________
___________________________
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                                                                                                 Judgment 2

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: RAPHAEL BANKS, a/k/a Raphael DeJuan Banks
Case Number: 1:07-cr-00047-007

                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FIFTEEN (15) MONTHS
                                                                                                .


X     The court makes the following recommendations to the Bureau of Prisons: that the
defendant be imprisoned at an institution where he may receive mental health treatment, and that
defendant’s designation be expedited.



X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at .m. on        .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
                before 2 p.m. on      .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                          to                                     at __________________

with a certified copy of this judgment.
                                                                          UNITED STATES MARSHAL


                                                                      By _________________________________
                                                                             Deputy U.S. Marshal
